Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 1 of 6 PageID: 19890




                             Exhibit 2
Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 2 of 6 PageID: 19891




                                                                      Bet Your Business Litigation      pg. 2
                                                                      Selected Case Briefs              pg. 3
                                                                      Trial References                  pg. 5

                                                With the trial of a generation captivating the nation, ABC News needed an
                                                authority on the psychology of juries. Millions of viewers were following the
                                                O. J. Simpson murder trial, and ABC wanted to show America how jurors
                                                really decide cases. It tracked down a heralded Texas trial lawyer known for
                                                his use of mock trials, Bill Carmody, who was busy preparing a long-shot case
                                                for a fired employee of a large steel company. ABC
                                                filmed Bill’s presentation of the evidence to the mock
                                                jurors as well as their deliberations. The network used
                                                the footage...and so did Bill. He played ABC’s tape
                                                of the mock jury’s deliberations at an eleventh hour
bcarmody @ susmangodfrey.com                    mediation session – and his client walked away with a
                                                substantial settlement.
New York, NY tel: 212-336-8334
             fax: 212-336-8340
                                                In the two decades since, Bill Carmody’s reputation has only grown. Today
    Admitted in New York and Texas
                                                he is a nationally recognized trial lawyer who tries bet-the-company cases
EDUCATION:                                      for plaintiffs and defendants in state and federal courts throughout the
United States Merchant Marine Academy
                                                country. He is a permanent member of Susman Godfrey’s Executive
Kings Point, N.Y. ( B.S. 1981)
                                                Committee and heads its New York office. Bill is experienced in a wide range
The University of Tulsa College of Law
( J.D. with honors, 1988), Order of the         of complex business and intellectual property litigation and has handled a
Curule Chair, TULSA LAW JOURNAL                 variety of cases, including antitrust, commercial and securities fraud,
Hall of Fame Inductee, The University of
                                                structured finance and derivatives litigation, class actions, false claims act, oil
Tulsa College of Law
Distinguished Alumni, The University of Tulsa
                                                & gas, trust and estates, trade secrets, trademark, and patent infringement.

Trial Lawyers College (2000)
                                                                          RECENT WORK
n   In the epic clash over self-driving car technology that pitted Google/Waymo against Uber, Bill stepped in shortly
    before trial to defend Uber. Although Waymo sought damages of almost $2 billion, Bill and his team got all
    of Waymo’s experts’ damages opinions struck. After Bill’s public and private opening statements and
    the presentation of four days of evidence to a federal jury in San Francisco, this high-profile case ended in a
    favorable settlement. Benchmark Litigation awarded Bill and his team the National Impact Case of the Year for
    their work. Click for press coverage.
n   For General Electric, Bill successfully tried a contract case before a jury in the Southern District of New York,
    leading to a judgment in favor of GE worth more than $160 million.
n   On behalf of a pharmaceutical industry whistleblower, Bill and his team prosecuted novel anti-kickback
    claims in the Novartis qui tam litigation that resulted in total settlements of $465 million – which for a
    case of its kind is the largest recovery ever. Click for Bloomberg interview.

                                                                  1
Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 3 of 6 PageID: 19892




   n   The City of Baltimore – whose citizens are more likely to die of an opioid overdose than those of nearly
       any other city in the country – retained Bill and recently filed suit to hold opioid manufacturers and
       distributors responsible for the harm they’ve done to the city. Click for press coverage.
   n   As co-lead counsel in the nationwide LIBOR antitrust litigation, for Yale University and a class of purchasers
       of LIBOR-based instruments, Bill and his team have led a fight through the United States Supreme Court
       to overcome Defendants’ motions to dismiss Plaintiffs’ price-fixing claims, certify a national litigation class,
       and secure settlements so far with 4 of the 16 Defendants for $590 million. Click for press coverage.
   n   Bill and his team won a summary judgment that was upheld on appeal in late 2017 by the New Jersey
       Supreme Court for Dan Loeb and his hedge fund Third Point in the Fairfax litigation, where plaintiffs
       sought damages of $8 billion. Click for press coverage.



                                B E T Y O U R B U S I N E S S L I T I G AT I O N

   Whether representing plaintiffs or defendants, Bill puts his
   money where his mouth is by betting on his ability to win for
   his clients. A pioneer in structuring result-driven fee deals, he
   aligns his interests with those of his clients by making his fees
   dependent on the success he earns – and not on hours billed.
   It’s a creative approach to billing in a profession that doesn’t
   often stray outside the box. Case Studies

   That’s never been a problem for Bill, whose bold and creative trial tactics have
   earned the respect of his peers, the media, and legal educators. Most recently he was elected to Law360’s
   esteemed 2019 Trials Editorial Advisory Board. Carmody previously taught Trial Advocacy at Southern
   Methodist University School of Law, and served on the law school’s Executive Board. Currently, he serves
   on the Board of Trustees of The University of Tulsa. He is also a member of the American Board of Trial
   Advocates, a fellow of the Litigation Counsel of America, and a fellow of the American Bar Foundation.

   Bill is perennially listed in the Lawdragon 500, the guide to America’s leading 500 lawyers and was lauded
   as one of its 41 Legal Legends. He was honored by Law360 as one of its 10 Titans of the Plaintiffs Bar.
   Carmody’s ranked in the Chambers USA Guide to America’s Leading Lawyers, and according to Chambers:

          Clients praise Bill Carmody as a “born trial lawyer,” and highly rate his ability to “swoop into
          a complicated case, master it and try it.”

   Bill has been named to the National Law Journal’s list of Elite Trial Lawyers, and is routinely included in
   Benchmark’s Top 100 Trial Lawyers. As reported in Benchmark, here’s how a peer describes him:

         “Of all the lawyers I’ve worked with in all my years, this guy [Carmody] was the best in every
          respect. As a trial lawyer he could do it all. He’s based in New York now but stylistically was
          absolutely ‘Texas hot!’ He is just in another league.”

   Carmody is listed in The Best Lawyers in America in five categories, including Bet-the-Company Litigation.
   His peers have voted him both a “New York Super Lawyer” and a “Texas Super Lawyer”
                                                                                    . Bill was also a top
   three finalist in 2018 for the New York Law Journal’s Attorney of the Year.

                                                            2
Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 4 of 6 PageID: 19893




   Carmody appears frequently in national and international media, and his trials have been featured in hun-
   dreds of publications, including The New York Times, The Wall Street Journal, The Washington Post, The
   Financial Times, the San Francisco Chronicle, Business Week, Bloomberg, The National Law Journal,
   Texas Lawyer, and The American Lawyer. He has been profiled by Lawdragon in its “Producers” series, by
   Law 360 for its “Trial Pro” series, and by Forbes. While his trial tactics and betting on his clients’ results
   have received widespread acclaim, most important to Bill and his clients are the victories earned in the
   courtroom – and following are just a few.



                                       SELECTED CASE BRIEFS

                                               Dare To Be Different

  “I’ve dealt with lots of In a huge defense victory, Bill orchestrated events outside the lawsuit to
     trial lawyers and, by defeat a local hero in his hometown court. Carmody’s client, a Dallas
                            investment brokerage, got sued for over $50 million. A loss was sure to
     far, Bill Carmody is break the company. The plaintiff was a “big fish” businessman who had
  the best I’ve ever seen.” sued Bill’s client in his “small pond,” the little town of Rockport, Texas.
  The case stood second on the trial docket. If the first case went as set, Carmody’s case would be bumped
  for months. A postponement could have cost the brokerage an advantage it had gained during discovery:
  Although Bill had deposed all of the opponent’s experts, he had shielded his client’s key expert from
  deposition. So, the opposition was ill prepared for the expert’s trial testimony. If the case was reset, the
  opposition would be able to depose the expert and erase their disadvantage.
  To prevent this, Bill took the unprecedented step of brokering a deal in
  which his client funded a $180,000 settlement of the first case on the dock-
  et. This enabled Carmody’s case to be tried while his client still had the
  edge. Bill did go to trial and won a resounding take-nothing judgment –
  and jury debriefing confirmed the deciding role of the key expert’s testi-
  mony. Bill’s client also won a counterclaim of almost $700,000.
  Despite the plaintiff’s vigorous attempts to overturn the take-nothing
  judgment, this remarkable victory withstood appellate scrutiny; it was affirmed by both the Corpus Christi
  Court of Appeals and the Texas Supreme Court. Wowed with Carmody’s results throughout the trial and
  appellate process, the company’s CEO remarked: “I’ve dealt with lots of trial lawyers and, by far, Bill
  Carmody is the best I’ve ever seen.” Bill Woodruff, CEO, Wm. K. Woodruff and Co., Dallas, TX.
  For media coverage of the brokered settlement, see National Law Journal, February 2, 1998, “Two Texas
  Litigators Leapfrog to Trial Win.”


                                               David Beats Goliath

  By uncovering evidence of commercial fraud, Bill helped a small contractor conquer a multi-national
  conglomerate. This “David v. Goliath” scenario pitted Carmody’s plaintiff client against one of the world’s
  largest oil companies. The case centered around the defendant’s refusal to pay for refinery construction
  work performed by the plaintiff in El Paso. But Bill capitalized on then-favorable venue rules to hold the case
  more than 800 miles away, in Beaumont – where the oil company had recently laid off hundreds of workers.


                                                         3
Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 5 of 6 PageID: 19894




   The case was originally viewed only as a million-dollar breach of contract claim; “Any firm can
   however, Carmody identified a wholly different type of claim that his client’s
                                                                                        supply lots of
   previous lawyers had missed. It capitalized on the oil company’s most vulnera-
   ble conduct – its reckless disregard for worker safety. The argument was novel:      bodies. I’d rather
   The defendant’s false assurances of safe working conditions inside crude oil         have just one brain
   towers constituted fraudulent misrepresentations. While the damages of the           like Bill Carmody’s.”
   workers who suffered illnesses were obvious, much less obvious was his
   client’s fraud damages, in the form of increased workers compensation premiums. After an arduous
   2-month trial – featuring a paperless, multi-media presentation, complete with an in-court full-size model of
   a quarter section of a crude oil tower – the jury found that the oil company committed fraud and awarded Bill’s
                               client over $61 million.
                                To cash in on this big verdict, Bill quickly negotiated a substantial confidential
                                settlement on behalf of his client. The client’s reaction to this happy ending?
                                “Any firm can supply lots of bodies. I’d rather have just one brain like Bill
                                Carmody’s.” Jerry Strickland, CEO, AltairStrickland, Inc., Houston, Texas.
                                See, National Law Journal, February 10, 1997, “The Big Numbers of 1996” and Dallas Business
                                Journal, January 17-23, 1997, “Carmody Firm May be Tiny, but Judgment was Mighty.”



                                                   Eleventh Hour Save

    “It’s never too In a perfect world, a lawyer would always have unlimited time and resources to
   late to bring in prepare for trial. But the world is not perfect and, often, time is not on your side. In
                    a case where he suited up for the defense, Carmody demonstrated the experience
     Bill Carmody.” and guts required to take over and win big at the eleventh hour.
   The case arose when a life insurance company was sued in a class action case by 25,000 of its policyholders.
   The plaintiff class alleged that the insurer had breached the terms of its policies, causing the plaintiffs to be
   overcharged for their insurance. The class sought $108 million in damages. In this bet-your-company case,
   a loss could have wiped out the company’s net worth – and forced a shutdown.
   The case had been pending for five years, as the insurance company was represented by a large, full-
   service law firm. But with the make-or-break trial looming, the insurance company decided it needed a
   proven trial lawyer – someone who made his reputation in the courtroom.
   So, just 6 days before trial, the insurer asked Carmody to try the case. Carmody
   quickly learned the case cold, devised the trial strategy, and presented the case
   during an eight-day jury trial. The jury promptly and unanimously delivered a
   complete defense verdict – and the case was dismissed. Given a new lease on
   life, the company heaved a sigh of relief and its General Counsel praised
   Carmody’s command: “Just six days before trial, most lawyers would have
   refused to take the case. But Bill Carmody thought of, and seized upon, every
   tactical advantage. Bill was a clutch performer winning us an incredible trial
   victory.” Bryan R. Newcombe, General Counsel, Legal & General
   America, Inc., Rockville, Maryland.

   See, The American Lawyer, Sept. 2007, Big Suits, “Beller et al. v. William Penn.”



                                                              4
Case 2:11-cv-01210-JMV-SCM Document 469-5 Filed 06/21/19 Page 6 of 6 PageID: 19895




                                                                                TRIAL REFERENCES
      It’s one thing just to read about the way Bill Carmody tries a case. But the best proof of his unique
      approach comes from talking to people who have actually seen Carmody at work. The following
      people are clients who have hired Carmody to represent them, lawyers who tried a case with or
      against him, and judges who presided over one of Carmody’s trials. All are willing to speak with you
      about Bill Carmody’s prowess in the courtroom.

                                                                                                           Clients
                             Brad Berenson General Counsel TPG San Francisco, CA 415-743-6363
                             Richard Heyman CEO Seragon Pharmaceuticals San Diego, CA 858-735-4581
                             Avi Katz Pres./Gen. Counsel Loral Space & Communications New York, NY 212-697-1105
                             Chris Moore General Counsel General Electric Capital Corp. Norwalk, CT 203-840-6390
                             Robert Mnuchin CEO Mnuchin Gallery New York, NY 212-861-6269
                             Bryan Newcombe Gen. Counsel Legal & General America Rockville, MD 301-294-6968
                             Josh Targoff General Counsel Third Point LLC New York, NY 212-715-3403
                                                                                                       Co-counsel
                             Daryl Barger Hartline, Dacus, Barger, Dreyer & Kern Corpus Christi, TX 361-866-8009
                             Paul Bekman Salsbury Clements Bekman Marder & Adkins Baltimore, MD 410-539-6633
                             Matthew Dontzin Dontzin, Nagy & Fleissig New York, NY 212-717-2900
                             Karen Dunn Boies Schiller Flexner Washington, DC 202-895-5235
                             John Gionis Certilman Balin Adler & Hyman East Meadow, NY 516-296-7000
                             Gordon Shapiro Jackson Walker Dallas, Texas 214-953-6059
                             Johnny Ward Ward & Smith Longview, Texas 903-935-3868
                                                                                                Opposing Counsel
                             Trent Bausch Cline Williams Omaha, Nebraska 402-397-1700
                             David Beck Beck, Redden & Secrest Houston, Texas 713-951-3700
                             Jim Flynn Harwood Feffer New York, New York 212-935-7700
                             Barry McNeil Haynes and Boone Dallas, Texas 214-651-5000
                             Paul Saunders Cravath, Swaine & Moore New York, New York 212-474-1404
                             Jeffrey Tillotson Tillotson Law Firm Dallas, Texas 214-382-3040
                             Charles Verhoeven Quinn Emanuel San Francisco, California 415-875-6600
                                                                                                           Judges
                             Hon. William Alsup U.S. District Court San Francisco, California 415-522-2020
                             Hon. Sidney Fitzwater U.S. District Court                                           Dallas, Texas 214-753-2333
                             Hon. David Godbey U.S. District Court Dallas, Texas 214-753-2700
                             Hon. Marilyn Huff U.S. District Court San Diego, California 619-557-6016
                             Hon. William J. Monahan Santa Clara Superior Court San Jose, CA 408-882-2270
                             Hon. Lorna G. Schofield U.S. District Court New York, New York 212-805-0288
                             Hon. Ira Warshawsky Supreme Court, Comm. Div. Nassau Co., New York 516-571-3351


    †Bill has been listed in Lawdragon 500 (Lawdragon Lawyer Profiles and Legal News) since its inception in 2003. Super Lawyers are published in Law & Politics Magazine by Thomson Reuters. Bill was a Texas Super
    Lawyer from 2003 to 2006 and a New York Super Lawyer from 2008 through 2018. Bill has been listed in The Best Lawyers in America (published by Woodward White Inc.) since 2004.
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